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17                                 UNITED STATES DISTRICT COURT
18                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                        SAN FRANCISCO DIVISION
20    FEDERAL TRADE COMMISSION,                          Case No. 3:22-cv-02880-JSC
21
             Plaintiff,                                  DEFENDANTS’ MOTION TO REMOVE
22                                                       INCORRECTLY FILED DOCUMENTS
      v.
23                                                       Date:     TBA
      MICROSOFT CORPORATION and                          Time:     TBA
24    ACTIVISION BLIZZARD, INC.,                         Dept.:    Courtroom 8—19th Floor
25                                                       Judge:    Honorable Jacqueline S. Corley
             Defendants.
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28
     MOTION TO REMOVE INCORRECTLY FILED                                CASE NO. 3:22-CV-02880-JSC
     DOCUMENTS
          Case 3:23-cv-02880-JSC Document 113 Filed 06/17/23 Page 2 of 3




 1          Defendant Microsoft Corp. and Defendant Activision Blizzard, Inc. (collectively “Defendants”)

 2   request entry of an order permanently removing the documents filed at ECF Nos. 106, 107, and 108 from

 3   the docket in this proceeding.

 4          On June 16, 2023, Defendants filed the documents available at ECF Nos. 106, 107, and 108.

 5   Shortly thereafter, Defendants realized that these files contain additional sensitive information beyond

 6   what was previously redacted that should not be available to the public. Specifically, the documents

 7   contain, among other things, confidential business information for both Defendants and third parties.

 8          Upon learning of this inadvertent disclosure, Defendants immediately contacted the ECF

 9   Helpdesk and requested that they temporarily block access to the document. Defendants also promptly

10   filed corrected versions of the documents, now available at ECF Nos. 109, 110, and 111.

11          For the reasons set forth above, Defendants respectfully request that the Court enter an order

12   directing the permanent removal of Docket Nos. 106, 107, and 108 from the docket in this proceeding.

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14
15   Dated: June 17, 2023                              By: /s/ Beth Wilkinson
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     MOTION TO REMOVE INCORRECTLY FILED                                        CASE NO. 3:22-CV-02880-JSC
     DOCUMENTS
          Case 3:23-cv-02880-JSC Document 113 Filed 06/17/23 Page 3 of 3




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     MOTION TO REMOVE INCORRECTLY FILED 2                                CASE NO. 3:22-CV-02880-JSC
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